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 7
 8                    UNITED STATES DISTRICT COURT FOR THE
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
     VICTOR BERNACHE, an                        CASE NO. 2:16-cv-5053
11   individual,
                                                COMPLAINT FOR DAMAGES FOR:
12               Plaintiff,
13         vs.                                  1. VIOLATIONS OF THE FAIR
                                                   DEBT COLLECTION
14   ALL COUNTY RECOVERY LLC,                      PRACTICES ACT;
     a California limited liability             2. VIOLATIONS OF THE
15   company; and DOES 1 through 10,               ROSENTHAL FAIR DEBT
     inclusive,                                    COLLECTION PRACTICES ACT;
16                                              3. CONVERSION;
                 Defendants.
17                                              4. BATTERY; AND
18                                              5. INTENTIONAL INFLICTION OF
                                                   EMOTIONAL DISTRESS
19                                              JURY TRIAL DEMANDED
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21
22         Plaintiff Victor Bernache alleges against defendants All County Recovery,
23   LLC and Does 1 through 25 as follows:
24                             JURISDICTION AND VENUE
25         1.    This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331
26   and 15 U.S.C. § 1692(k). This Court has supplemental jurisdiction over the state law
27   claims pursuant to 28 U.S.C. § 1367.
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                                        COMPLAINT
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 1          2.        Venue is proper in the Central District in that, among other things, a
 2   substantial part of the events or omissions giving rise to plaintiffs’ claims occurred in
 3   this District.
 4                                             PARTIES
 5          3.        Plaintiff Victor Bernache is a natural person residing in Los Angeles
 6   County, California.
 7          4.        Defendant All County Recovery is a California corporation with its
 8   principal place of business in Bakersfield, California.
 9          5.        Defendants Does 1 through 10 are persons or entities whose true names
10   and capacities are presently unknown to Plaintiff, and who therefore are sued by such
11   fictitious names. Each of the fictitiously named Defendants perpetrated some or all of
12   the wrongful acts alleged herein, is responsible in some manner for the matters
13   alleged herein, and is jointly and severally liable to Plaintiff. Plaintiff will seek leave
14   of court to amend this Complaint to state the true names and capacities of such
15   fictitiously named Defendants when ascertained.
16          6.        At all times mentioned herein, Defendants were the agents and/or
17   employees of each other and were acting within the course and scope of such agency
18   or employment. Defendants are jointly and severally liable to Plaintiff.
19                                      OPERATIVE FACTS
20          7.        In March 2016, plaintiff purchased a motor vehicle for personal, family
21   or household purposes at a lien sale conducted by Hollywood Tow Service, Inc.
22   Plaintiff is informed and believes, and based thereon alleges, that, prior to the lien
23   sale, Catanos Auto Sales sold the vehicle to an individual for personal, family or
24   household purposes, pursuant to an installment sale contract. Plaintiff is informed
25   and believes, and based thereon alleges, that even though the lien sale wiped out any
26   lien in favor of Catanos, it hired or retained defendant All County Recovery, a
27   repossession agency, to repossess the vehicle at plaintiff’s home.
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 1         8.     On or about April 15, 2016, plaintiff returned home at night and saw
 2   two male agents and/or employees of All County Recovery by his vehicle. Plaintiff
 3   asked the men what they were doing by his car. The men responded that they were
 4   there to repossess plaintiff’s vehicle. Plaintiff told the men that he was the owner of
 5   the vehicle and they were not allowed to take it. Plaintiff’s objection to the
 6   repossession was unequivocal, and his vehicle was not connected to defendants’ tow
 7   truck at the time of the objection.
 8         9.     Plaintiff asked the men to leave and stood by the front of his vehicle. All
 9   County Recovery’s agents/employees told plaintiff to move or they would call the
10   police. Plaintiff told the men to call the police, at which time the men pushed
11   plaintiff away from his car, and one of the men punched plaintiff in the head with his
12   fist, causing plaintiff to fall down. All County Recovery’s agents/employees then
13   completed the repossession of plaintiff’s vehicle. Among other injuries, plaintiff
14   suffered severe bruising to his head and an injury to his leg as a result of the unlawful
15   conduct by All County Recovery’s agents/employees.
16                               FIRST CLAIM FOR RELIEF
17      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
18                                  15 U.S.C. §§ 1692, et seq.
19                           (By Plaintiff Against All Defendants)
20         10.    Plaintiff realleges and incorporates herein by reference the allegations of
21   all paragraphs above.
22         11.    Congress has found that “[t]here is abundant evidence of the use of
23   abusive, deceptive, and unfair debt collection practices by many debt collectors,” and
24   that “[a]busive debt collectors contribute to the number of personal bankruptcies, to
25   marital instability, to the loss of jobs, and to invasions of individual privacy.” 15
26   U.S.C. § 1692(a). Congress thus enacted the FDCPA to “eliminate abusive debt
27   collection practices by debt collectors, to insure that those debt collectors who refrain
28   from using abusive debt collection practices are not competitively disadvantaged,
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 1   and to promote consistent State action to protect consumers against debt collection
 2   abuses.” Id., § 1692(e).
 3         12.    Plaintiff is “consumer” within the meaning of 15 U.S.C. § 1692a(3).
 4   Defendants are “debt collectors” within the meaning of 15 U.S.C. § 1692a(6) in that
 5   they are persons who use an instrumentality of interstate commerce or the mails in a
 6   business the principal purpose of which is the enforcement of security interests. The
 7   purported debt which defendants attempted to collect from plaintiff is a “debt” within
 8   the meaning of 15 U.S.C. § 1692a(5).
 9         13.    15 U.S.C. § 1692f(6)(A) provides as follows:
10                A debt collector may not use unfair or unconscionable
11                means to collect or attempt to collect any debt. Without
12                limiting the general application of the foregoing, the
13                following conduct is a violation of this section:
14                       (6) Taking or threatening to take any nonjudicial
15                action to effect dispossession or disablement of property
16                if—
17
18                              (A) there is no present right to possession of
19                the property claimed as collateral through an enforceable
20                security interest[.]
21         14.    California Commercial Code § 9609 provides that a nonjudicial
22   repossession cannot be completed in breach of the peace. Thus, there is “no present
23   right” to possession of property claimed as collateral through an enforceable security
24   interest if there is a breach of the peace.
25         15.    Defendants completed the repossession of plaintiff’s vehicle in breach
26   of the peace for two independent reasons. First, plaintiff had stated an objection to
27   the repossession before it was completed. Second, defendants used physical force to
28   gain possession of the vehicle. By completing the nonjudicial repossession in breach
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                                         COMPLAINT
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 1   of the peace, defendants violated § 1692f(6)(A) by taking “any nonjudicial action” to
 2   effect dispossession or disablement of property claimed as collateral through an
 3   enforceable security interest (plaintiff’s vehicle) when there was “no present right” to
 4   possession of the property.
 5         16.    As a proximate result of defendants’ violations of the FDCPA, plaintiff
 6   has been damaged in amounts which are subject to proof.
 7         17.    Plaintiff is entitled to recover his actual damages pursuant to 15 U.S.C.
 8   § 1692k(a)(1).
 9         18.    Plaintiff is entitled to recover statutory damages pursuant to 15 U.S.C.
10   § 1692k(a)(2)(A).
11         19.    Plaintiff is entitled to an award of his reasonable attorney’s fees and
12   costs in the filing and prosecution of this action pursuant to 15 U.S.C. § 1692k(a)(3).
13         WHEREFORE, plaintiff prays for relief as set forth below.
14                            SECOND CLAIM FOR RELIEF
15           VIOLATIONS OF CALIFORNIA’S ROSENTHAL FAIR DEBT
16          COLLECTION PRACTICES ACT, Cal. Civ. Code §§ 1788, et seq.
17                           (By Plaintiff Against All Defendants)
18         20.    Plaintiff realleges and incorporates herein by reference the allegations of
19   all paragraphs above.
20         21.    The California Legislature has found that “unfair or deceptive debt
21   collection practices undermine the public confidence which is essential to the
22   continued functioning of the banking and credit system and sound extensions of
23   credit to consumers.” Cal. Civ. Code § 1788.1(a)(2). The Legislature thus enacted the
24   Rosenthal FDCPA to ensure the integrity of California’s banking and credit industry.
25   Id., § 1788.1(b).
26         22.    Plaintiff is a “debtor” within the meaning of California Civil Code
27   § 1788.2(h) in that he is a natural person from whom defendants sought to collect a
28   “consumer debt” within the meaning of Civil Code § 1788.2(f) – i.e., money,
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                                      COMPLAINT
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 1   property or their equivalent which was alleged to be due and owing by reason of a
 2   consumer credit transaction. Defendants are “debt collectors” within the meaning of
 3   Civil Code § 1788.2(c), in that they regularly and in the ordinary course of business,
 4   on behalf of themselves or others, engage in acts and practices in connection with the
 5   collection of money, property or their equivalent which is due or owing or alleged to
 6   be due or owing from a natural person to another natural person.
 7         23.    Defendants violated the provisions of Civil Code § 1788.10(a) by using,
 8   or threatening to use, physical force or violence or any criminal means to cause harm
 9   to the person, or the reputation, or the property of any person.
10         24.    Civil Code § 1788.17 provides that debt collectors subject to the
11   Rosenthal FDCPA collecting or attempting to collect a consumer debt must comply
12   with the provisions of 15 U.S.C. §§ 1692b to 1692j, inclusive, of the FDCPA.
13   Section 1788.17 further provides that debt collectors subject to the Rosenthal
14   FDCPA are subject to the remedies in § 1692k of the FDCPA. By violating the
15   provisions of 15 U.S.C. § 1692f(6)(A), Defendants violated the Rosenthal FDCPA,
16   at Civil Code § 1788.17.
17         25.    As a proximate result of defendants’ violations of the Rosenthal
18   FDCPA, Plaintiff has been damaged in amounts that are subject to proof.
19         26.    Plaintiff is entitled to recover his actual damages pursuant to Civil Code
20   § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(1), or in the alternative,
21   Civil Code § 1788.30(a).
22         27.    Defendants’ violations of the Rosenthal FDCPA were willful and
23   knowing. Plaintiff is entitled to recover the maximum amount of statutory damages
24   pursuant to Civil Code § 1788.17, incorporating by reference 15 U.S.C.
25   § 1692k(a)(2)(A), or in the alternative, Civil Code § 1788.30(b).
26         28.    Plaintiff is entitled to an award of his attorney’s fees and costs incurred
27   in the investigation, filing and prosecution of this action pursuant to Civil Code
28   § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(3), or in the alternative,
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                                        COMPLAINT
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 1   Civil Code § 1788.30(c).
 2         WHEREFORE, plaintiff prays for relief as set forth below.
 3                              THIRD CLAIM FOR RELIEF
 4                                      CONVERSION
 5                           (By Plaintiff Against All Defendants)
 6         29.    Plaintiff realleges and incorporates herein by reference the allegations of
 7   all paragraphs above.
 8         30.    Plaintiff was entitled to immediate possession of his vehicle when it was
 9   repossessed by defendants. Defendants wrongfully deprived plaintiff of possession of
10   his vehicle by repossessing it without any present right to do so. Plaintiff has suffered
11   and is entitled to recover damages for defendants’ conversion.
12         31.    Defendants acted with oppression, fraud or malice, within the meaning
13   of Civil Code § 3294, thereby entitling plaintiff to punitive damages in an amount
14   according to proof. Defendants’ corporate officers, directors, or managing agents are
15   personally guilty of oppression, fraud or malice, had advance knowledge of the
16   unfitness of the employees who acted towards plaintiff with malice, oppression, or
17   fraud, employed such employees with conscious disregard for the rights or safety of
18   others, and/or themselves authorized or ratified the wrongful conduct.
19         WHEREFORE, plaintiff prays for relief as set forth below.
20                              FOURTH CLAIM FOR RELIEF
21                                          BATTERY
22                           (By Plaintiff Against All Defendants)
23         32.    Plaintiff realleges and incorporates herein by reference the allegations of
24   all paragraphs above.
25         33.    Defendants touched plaintiff or caused plaintiff to be touched with the
26   intent to harm or offend him. Plaintiff did not consent to the touching. As a
27   proximate result of defendants’ conduct, plaintiff has suffered damages in an amount
28   to be determined according to proof.
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 1         34.    Defendants acted with oppression, fraud or malice, within the meaning
 2   of Civil Code § 3294, thereby entitling plaintiff to punitive damages in an amount
 3   according to proof. Defendants’ corporate officers, directors, or managing agents are
 4   personally guilty of oppression, fraud or malice, had advance knowledge of the
 5   unfitness of the employees who acted towards plaintiff with malice, oppression, or
 6   fraud, employed such employees with conscious disregard for the rights or safety of
 7   others, and/or themselves authorized or ratified the wrongful conduct.
 8         WHEREFORE, plaintiff prays for relief as set forth below.
 9                               FIFTH CLAIM FOR RELIEF
10             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
11                           (By Plaintiff Against All Defendants)
12         35.    Plaintiff realleges and incorporates herein by reference the allegations of
13   all paragraphs above.
14         36.    Defendants engaged in the extreme, outrageous and unreasonable acts
15   enumerated above. These acts went beyond the bounds of decency expected in a
16   civilized society. Defendants intended to cause plaintiff to suffer emotional distress,
17   and/or engaged in their outrageous conduct with reckless disregard of the probability
18   of causing plaintiff to suffer emotional distress. As a direct and proximate result of
19   defendants’ outrageous conduct, plaintiff has suffered extreme and severe mental
20   distress, mental suffering, and/or mental anguish, including one or more of the
21   following: anxiety, fear, fright, panic, humiliation, embarrassment, nervousness,
22   grief, worry, indignity, irritability, depression, anger, panic, nervousness, crying fits,
23   loss of appetite, sensitive stomach, loss of sleep, nightmares, loss of concentration
24   and headaches. As a direct and proximate result of defendants’ conduct, plaintiff has
25   suffered damages in an amount to be determined according to proof.
26         37.    Defendants acted with oppression, fraud or malice, within the meaning
27   of Civil Code § 3294, thereby entitling plaintiff to punitive damages in an amount
28   according to proof. Defendants’ corporate officers, directors, or managing agents are
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 1   personally guilty of oppression, fraud or malice, had advance knowledge of the
 2   unfitness of the employees who acted towards plaintiff with malice, oppression, or
 3   fraud, employed such employees with conscious disregard for the rights or safety of
 4   others, and/or themselves authorized or ratified the wrongful conduct.
 5         WHEREFORE, plaintiff prays for relief as set forth below.
 6                                 PRAYER FOR RELIEF
 7         WHEREFORE, plaintiff prays for the following relief:
 8         1.     For actual damages;
 9         2.     For statutory damages;
10         3.     For punitive damages;
11         4.     For pre-judgment interest to the extent permitted by law;
12         5.     For an award of his attorney’s fees, costs and expenses incurred in the
13   investigation, filing and prosecution of this action; and
14         6.     For such other and further relief as the Court may deem just and proper.
15                              DEMAND FOR JURY TRIAL
16         Plaintiff hereby demands a trial by jury under the United States Constitution.
17   Dated: July 11, 2016                    LAW OFFICES OF BRANDON A. BLOCK
                                             A PROFESSIONAL CORPORATION
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19                                                   /s/
                                             Brandon A. Block
20
                                             Attorneys for Plaintiff
21                                           VICTOR BERNACHE
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                                          COMPLAINT
